
I concur with Justice Maddox's opinion. Liberty National originally adopted a reasonable practice of paying only that portion of each claim that would be reimbursed by Medicare. Upon discovering that its policyholders were dissatisfied with that practice, but before Talmadge Allen sued, Liberty National reversed that practice. Therefore, Allen suffered no damage, but he still filed this action. In spite of Liberty National's efforts to keep its policyholders happy, it was forced to endure the burden and expense of litigation in this case. I think Liberty National should be commended for accommodating its policyholders like Talmadge Allen. Instead, this needless litigation has forced both the defendant and the State of Alabama to waste valuable time and money. *Page 144 